                  Case 23-10207-TMH                  Doc 732          Filed 12/15/23           Page 1 of 2




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

   In re:                                                           Chapter 11

   SL LIQUIDATION LLC, et al.,1                                     Case No. 23-10207 (TMH)

                       Debtors.                                     (Jointly Administered)

                      NOTICE OF AGENDA OF MATTERS SCHEDULED
                   FOR HEARING ON DECEMBER 19, 2023 AT 10:00 A.M. (ET)


   ** AS NO MATTERS ARE SCHEDULED TO GO FORWARD, THIS HEARING HAS
            BEEN CANCELLED WITH PERMISSION OF THE COURT **


RESOLVED MATTERS:

     1. Motion to File Claim After Claims Bar Date. Filed by C&A Tool Engineering, Inc.. [Filed
        November 16, 2023; Docket No. 693].

          Objection Deadline: November 30, 2023 at 4:00 p.m.

          Responses/Objections Received: None.

          Related Documents:

               A. Certificate of No Objection Regarding C&A Tool Engineering, Inc.'s Motion to
                  Deem Its Proof of Claim as Timely Filed [Filed December 4, 2023; Docket No.
                  718].

               B. Order Granting C&A Tool Engineering, Inc.'s Motion to Deem Its Proof of Claim
                  As Timely Filed [Filed December 5, 2023; Docket No. 721].

          Status: The Court has entered an Order. Accordingly, a hearing is no longer necessary.




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are as

follows: SL Liquidation LLC (0378); TPP Liquidation, Inc. (5202); HTPPS Liquidation, Inc. (2594); and HGTPPS Liquidation,
Inc. (1734). The Debtors’ service address for purposes of these chapter 11 cases is PMB #179, 1159 Second Avenue, New York,
NY 10065.

16455158/1
               Case 23-10207-TMH         Doc 732      Filed 12/15/23   Page 2 of 2




ADJOURNED MATTERS:

    2. Motion of 3B Holdings Inc. d/b/a 3B Supply for Allowance and Payment of
       Administrative Claim [Filed November 14, 2023; Docket No. 687].

         Objection Deadline: November 28, 2023 at 4:00 p.m.; extended through December 27,
         2023 solely for the Liquidating Trustee.

         Responses/Objections Received: None.

         Related Documents: None.

         Status: This matter has been adjourned by agreement of the parties to January 3, 2024 at
         11:00 a.m. (ET).

    3. Motion for Payment of Administrative Expenses/Claims Filed by Cooper-Standard
       Automotive Inc. [Filed December 1, 2023; Docket No. 717].

         Objection Deadline: December 12, 2023 at 4:00 p.m.; extended through December 29,
         2023 solely for the Liquidating Trustee.

         Responses/Objections Received: None.

         Related Documents: None.

         Status: This matter has been adjourned by agreement of the parties to January 3, 2024 at
         11:00 a.m. (ET).

Dated: December 15, 2023                      MORRIS JAMES LLP

                                              /s/ Jeffrey R. Waxman
                                              Jeffrey R. Waxman (DE Bar No. 4159)
                                              Eric J. Monzo (DE Bar No. 5214)
                                              Brya M. Keilson (DE Bar No. 4643)
                                              500 Delaware Avenue, Suite 1500
                                              Wilmington, DE 19801
                                              Telephone: (302) 888-6800
                                              Facsimile: (302) 571-1750
                                              E-mail: jwaxman@morrisjames.com
                                              E-mail: emonzo@morrisjames.com
                                              E-mail: bkeilson@morrisjames.com

                                              Counsel to the Liquidating Trustee




                                                -2-
16455158/1
